
USCA1 Opinion

	










                            UNITED STATES COURT OF APPEALS
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                FOR THE FIRST CIRCUIT

                              _________________________

          No. 94-2282

                                 EILEEN M. McCARTHY,

                                Plaintiff, Appellant,

                                          v.

                              NORTHWEST AIRLINES, INC.,

                                 Defendant, Appellee.

                              _________________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                   [Hon. Reginald C. Lindsay, U.S. District Judge]
                                              ___________________

                              _________________________

                                        Before

                                Selya, Circuit Judge,
                                       _____________

                            Coffin, Senior Circuit Judge,
                                    ____________________

                               and Cyr, Circuit Judge.
                                        _____________

                              _________________________

               Marvin H.  Greenberg, with whom  Bonnie L. Karshbaum  was on
               ____________________             ___________________
          brief, for appellant.
               Patricia  A.  Wilson, with  whom John  J. Bonistalli  was on
               ____________________             ___________________
          brief, for appellee.

                              _________________________

                                     May 31, 1995

                              _________________________





















                    SELYA,  Circuit  Judge.   Following  an  accident  that
                    SELYA,  Circuit  Judge.
                            ______________

          occurred in  the course  of international air  travel, plaintiff-

          appellant Eileen  M. McCarthy filed  a suit  for damages  against

          defendant-appellee   Northwest    Airlines,   Inc.   (Northwest).

          Concluding that  the  Warsaw Convention  stood  in the  way,  the

          district court  grounded the  suit.   See  McCarthy v.  Northwest
                                                ___  ________     _________

          Airlines,  Inc.,  862 F.  Supp. 17  (D.  Mass. 1994).   Plaintiff
          _______________

          appeals.  We affirm.

          I.  BACKGROUND
          I.  BACKGROUND

                    Because the district court granted  summary judgment in

          the defendant's favor, we array the material  facts in a way that

          puts  the best face on the  plaintiff's claims without distorting

          them.

                    On July 2, 1990, the plaintiff and  her sister departed

          Boston via Northwest en route to  the Orient.  They flew to Tokyo

          and stayed for  four days.  At that point  their itinerary called

          for them to  fly to  Osaka and  then on  to China.   The  sisters

          repaired  to the  airport and,  since they  had not  yet obtained

          boarding  passes,  they joined  a queue  that  had formed  at the

          Northwest ticket counter.

                    When  the sisters  reached  the  desk,  they  expressed

          uncertainty  about  whether  time  had  grown  too  short.    The

          plaintiff claims that they told  the Northwest ticket agent  that

          they were perfectly willing  to take a later  flight in order  to

          avoid rushing.   The agent brushed  aside their concerns,  tagged

          their  luggage, issued boarding passes,  and led them  "at a fast


                                          2














          trot"  in the  general  direction of  the  customs area.    Still

          following the agent (who  retained possession of their passports,

          tickets,  and boarding  passes),  the sisters  took an  escalator

          accessible to the general  public from one level of  the terminal

          building to  a  lower level.    The escalator  malfunctioned  and

          McCarthy fell.

                    Although  the  plaintiff   sustained  an  injury,   she

          proceeded  through customs, entered a  bus that drove  her to the

          approximate  point  of  departure,  and  thereafter  boarded  the

          airplane that  took her to Osaka.   She continued on  to China as

          she  had  planned.   Upon her  return to  the United  States, she

          consulted  a physician  who  determined that  she had  broken her

          knee.  The doctor's diagnosis led to both a lengthy convalescence

          and a suit for damages.1

          II.  THE SUMMARY JUDGMENT STANDARD
          II.  THE SUMMARY JUDGMENT STANDARD

                    Summary  judgment   has  a   special  niche   in  civil

          litigation.   Its  "role  is to  pierce  the boilerplate  of  the

          pleadings  and assay  the parties'  proof in  order to  determine

          whether trial is actually  required."  Wynne v. Tufts  Univ. Sch.
                                                 _____    _________________

          of Med.,  976 F.2d 791, 794 (1st Cir. 1992), cert. denied, 113 S.
          _______                                      _____ ______

          Ct. 1845 (1993).  The device allows courts and litigants to avoid

          full-blown  trials  in  unwinnable  cases,  thus  conserving  the

          parties' time and money, and permitting courts  to husband scarce
                              
          ____________________

               1McCarthy originally sued Northwest  on both negligence  and
          strict liability theories.   Following an  adverse ruling in  the
          district   court,    she   abandoned   the    negligence   claim.
          Consequently,  her  appeal  concerns  only  her  strict liability
          claim.

                                          3














          judicial resources.

                    A court  may grant summary judgment  "if the pleadings,

          depositions, answers to interrogatories, and  admissions on file,

          together  with  the affidavits,  if any,  show  that there  is no

          genuine issue as  to any material fact and that  the moving party

          is  entitled to a judgment as a matter  of law."  Fed. R. Civ. P.

          56(c).   We have discussed this rule  in a cascade of cases, see,
                                                                       ___

          e.g., Coyne  v. Taber  Partners I,  ___ F.3d  ___, ___  (1st Cir.
          ____  _____     _________________

          1995) [No. 94-2231,  slip op. at 4-5];  National Amusements, Inc.
                                                  _________________________

          v. Town of Dedham, 43 F.3d 731, 735 (1st Cir. 1995), petition for
             ______________                                    ____________

          cert.  filed, 63 U.S.L.W. 3736 (U.S. Apr. 4, 1995) (No. 94-1630);
          ____________

          Pagano v. Frank, 983  F.2d 343, 347  (1st Cir. 1993); Wynne,  976
          ______    _____                                       _____

          F.2d at 794; United  States v. One Parcel of Real Property (Great
                       ______________    ___________________________  _____

          Harbor Neck, New  Shoreham, R.I.),  960 F.2d 200,  204 (1st  Cir.
          ________________________________

          1992);  Rivera-Muriente v.  Agosto-Alicea, 959  F.2d 349,  351-52
                  _______________     _____________

          (1st  Cir. 1992); Griggs-Ryan v. Smith, 904 F.2d 112, 115-16 (1st
                            ___________    _____

          Cir. 1990); Medina-Munoz  v. R.J. Reynolds Tobacco Co.,  896 F.2d
                      ____________     _________________________

          5, 7-8 (1st Cir. 1990); Garside  v. Osco Drug, Inc., 895 F.2d 46,
                                  _______     _______________

          48-49 (1st  Cir. 1990), and it  would serve no useful  purpose to

          rehearse all the particulars of  those discussions.  For purposes

          of this case, it suffices to outline the manner in which the rule

          operates.

                    Once a properly documented motion has engaged the gears

          of Rule  56, the party  to whom the  motion is directed  can shut

          down  the  machinery only  by  showing that  a  trialworthy issue

          exists.  See National Amusements,  43 F.3d at 735.  As  to issues
                   ___ ___________________


                                          4














          on which the summary judgment target bears the ultimate burden of

          proof, she cannot rely  on an absence of competent  evidence, but

          must affirmatively  point to specific facts  that demonstrate the

          existence  of an authentic dispute.  See Garside, 895 F.2d at 48.
                                               ___ _______

          Not  every  factual  dispute  is  sufficient  to  thwart  summary

          judgment; the contested fact  must be "material" and the  dispute

          over it must be "genuine."  In this regard, "material" means that

          a contested fact  has the potential to change the  outcome of the

          suit under  the governing law if the  dispute over it is resolved

          favorably to the nonmovant.  See One Parcel, 960 F.2d at 204.  By
                                       ___ __________

          like  token, "genuine" means that "the evidence about the fact is

          such that a  reasonable jury could resolve the  point in favor of

          the nonmoving party . . . ."  Id.
                                        ___

                    When all is said  and done, the trial court  must "view

          the  entire  record in  the light  most  hospitable to  the party

          opposing summary judgment, indulging all reasonable inferences in

          that  party's favor," Griggs-Ryan, 904 F.2d at 115, but paying no
                                ___________

          heed  to  "conclusory  allegations, improbable  inferences,  [or]

          unsupported  speculation,"  Medina-Munoz, 896  F.2d at 8.   If no
                                      ____________

          genuine  issue of  material  fact emerges,  then  the motion  for

          summary judgment may be granted.

                    Because  the summary  judgment  standard  requires  the

          trial  court to  make an  essentially legal  determination rather

          than to  engage in differential factfinding,  appellate review of

          an order granting such a motion is plenary.  See Pagano, 983 F.2d
                                                       ___ ______

          at 347; Garside, 895 F.2d at 48.
                  _______


                                          5














          III.  DISCUSSION
          III.  DISCUSSION

                    We  bifurcate  the body  of  our  opinion.   First,  we

          explicate the Warsaw Convention, the etiology of Article  17, and

          the accepted analytic  approach to  Article 17 cases.   Next,  we

          shine the light of  our gleaned understanding on the  case before

          us.

                               A.  The Legal Landscape.
                               A.  The Legal Landscape.
                                   ___________________

                    Generally  speaking,  the  Warsaw Convention,  formally

          known  as the  Convention for  the Unification  of Certain  Rules

          Relating to  International Transportation by Air,  Oct. 12, 1929,

          49 Stat. 3000, T.S. No.  876 (1934), note foll. 49 U.S.C.  app.  

          1502,2  arose  out of  a perceived  need  to provide  a fledgling

          industry  with a  uniform set  of legal  rules that  would govern

          accidents  occurring  in international  air  travel.   Under  the

          Convention, air  carriers are absolutely  liable, up to  a preset

          monetary ceiling, for any  accident in which a  passenger suffers

          bodily injury  or death as  long as the  accident "took  place on

          board the aircraft  or in the course of any  of the operations of

          embarking or disembarking."  Id., art. 17, 49 Stat. at 3018.
                                       ___

                    "Treaty  interpretation is a purely legal exercise," In
                                                                         __

          re  Extradition of Howard, 996  F.2d 1320, 1329  (1st Cir. 1993),
          _________________________

                              
          ____________________

               2The  United   States  initially   adhered  to   the  Warsaw
          Convention on October 29, 1934.  Except as otherwise specifically
          indicated,  however, all  references  to the  Convention in  this
          opinion  are  to  the  document   as  modified  by  the  Montreal
          Agreement, formally known as  the Agreement Relating to Liability
          Limitations of the Warsaw Convention and the Hague  Protocol, CAB
          Agreement  18900, note foll. 49  U.S.C. app.    1502 (approved by
          CAB Order E-23680, May 13, 1966, 31 Fed. Reg. 7302).

                                          6














          but the  terms "embarking"  and  "disembarking" as  used in  this

          treaty are less than mathematically precise.  Just as legislative

          history can  inform the meaning  of an inexact  statute, however,

          so, too, can  the history of  a treaty inform  its meaning.   See
                                                                        ___

          Cook v. United States, 288  U.S. 102, 112 (1933).  Thus,  we look
          ____    _____________

          back in time to gain a better comprehension of  the language that

          the drafters employed.

                    The  Warsaw Convention  was  the  product of  ponderous

          deliberation.  Conferees  who met  in Paris in  1925 appointed  a

          committee  of  experts,   the  Comit   Internationale   Technique

          d'Experts Juridique  A riens  (CITEJA), to  prepare  a  suggested

          accord.   CITEJA's  recommendations were  considered at  a second

          conference, held in Warsaw in 1929.  CITEJA recommended extending

          accident coverage to passengers "from  the time [they] enter  the

          airport  of  departure until  the time  when  they exit  from the

          airport of arrival."  Minutes, Second International Conference on

          Private  Aeronautical Law,  October  4-12, 1929,  Warsaw 171  (R.

          Horner &amp; D. Legrez trans. 1975) (Warsaw Minutes).  The breadth of

          the proposed language inspired heated debate.  See, e.g.,  Warsaw
                                                         ___  ____

          Minutes at 49;  see also Day  v. Trans World Airlines,  Inc., 528
                          ___ ____ ___     ___________________________

          F.2d 31, 35  (2d Cir.  1975) (reviewing history  of Article  17),

          cert. denied, 429 U.S. 890 (1976).
          _____ ______

                    In an effort to accommodate conflicting views, a French

          delegate, Prof. Georges Ripert, suggested that the article should

          "employ a general formula `during air carriage' in leaving to the

          courts  the duty of  deciding in each  case if one  is within the


                                          7














          contract of carriage."   Warsaw Minutes at 73; see  also Martinez
                                                         ___  ____ ________

          Hernandez  v. Air  France,  545 F.2d  279,  283 (1st  Cir.  1976)
          _________     ___________

          (discussing Ripert proposal), cert.  denied, 430 U.S. 950 (1977).
                                        _____  ______

          The  delegates embraced Ripert's idea,  see Warsaw Minutes at 83,
                                                  ___

          and   the   drafting   committee   couched   the   compromise  in

          substantially the formnow embodied in Article 17. See id. at 166.
                                                            ___ ___

                    The single substantive issue  presented in this  appeal

          is  whether plaintiff  was injured  while "embarking"  within the

          meaning of Article 17.  Though  the Supreme Court has not yet had

          occasion to define the words "embarking" or "disembarking" in the

          context  of Article 17, the  Court has generally  read Article 17

          parsimoniously.  See, e.g., Eastern Airlines, Inc. v.  Floyd, 499
                           ___  ____  ______________________     _____

          U.S.  530, 552  (1991) (holding  that Article  17 does  not allow

          recovery for harm unaccompanied by some physical manifestation of

          injury); Air France v.  Saks, 470 U.S. 392, 406  (1985) (adopting
                   __________     ____

          restrictive definition of "accident" for purposes of Article 17).

          This restraint is entirely  understandable as Article 17 provides

          for  strict liability,  and  there are  sound  policy reasons  to

          confine  that liability  to  the  letter  of the  text,  narrowly

          construed.  See  Eastern Airlines, 499  U.S. at 552.   The  terms
                      ___  ________________

          "embarking" and "disembarking" are not infinitely elastic, and we

          believe it is quite probable that, when the occasion to interpret

          those  terms  arises,  the  Court  will  prove  to  be  similarly

          restrained in defining them.  Cf. Chan v. Korean Air Lines, Ltd.,
                                        ___ ____    ______________________

          490  U.S. 122, 128 (1989)  (holding that Article  3(2) deprives a

          carrier of  the Warsaw Convention's Article  3 damages limitation


                                          8














          only if the carrier fails to deliver a ticket altogether).

                    Given the  historical record  and the signals  that the

          Supreme Court  has sent, most  courts have interpreted  the terms

          "embarking" and  "disembarking" to  connote a close  temporal and

          spatial  relationship with the  flight itself.   In  the process,

          these  courts have  found a  three-pronged inquiry to  be useful.

          The inquiry focuses on  (1) the passenger's activity at  the time

          of injury, (2)  his or her whereabouts when injured,  and (3) the

          extent  to which the carrier was exercising control at the moment

          of injury.   See, e.g., Schroeder  v. Lufthansa German  Airlines,
                       ___  ____  _________     __________________________

          875 F.2d 613,  617 (7th  Cir. 1989); Evangelinos  v. Trans  World
                                               ___________     ____________

          Airlines,  Inc.,  550 F.2d  152, 155  (3d  Cir. 1977)  (en banc);
          _______________

          Maugnie v. Compagnie Nationale Air France, 549 F.2d 1256, 1261-62
          _______    ______________________________

          (9th Cir. 1977), cert. denied, 431 U.S. 974 (1978); Day, 528 F.2d
                           _____ ______                       ___

          at 33.  We,  too, have noted that such  considerations are highly

          relevant in determining  the applicability  of Article  17.   See
                                                                        ___

          Martinez Hernandez,  545 F.2d at 282.   We do not  view the three
          __________________

          factors   activity, location, and control   as separate legs of a

          stool, but,  rather, as forming a  single, unitary base.   In the

          last  analysis, the  factors are  inextricably intertwined.   Cf.
                                                                        ___

          Evangelinos,  550 F.2d  at  155 (observing  that  control "is  an
          ___________

          integral factor in evaluating both location and activity").

                    What is more, the language of Article 17   which speaks

          to  accidents that occur "in the course  of any of the operations

          of embarking"   strongly suggests that there must  be a tight tie

          between an accident and the physical act of entering an aircraft.


                                          9














          See Martinez  Hernandez, 545 F.2d at 283-84  (concluding that the
          ___ ___________________

          drafters  of  the  Warsaw  Convention  understood  embarking  "as

          essentially the physical activity  of entering" an airplane); see
                                                                        ___

          also  Evangelinos, 550 F.2d at 155.  This "tying" concept informs
          ____  ___________

          location  as well as activity.   Consequently, for  Article 17 to

          attach, the passenger  must not  only do something  that, at  the

          particular  time, constitutes  a necessary  step in  the boarding

          process, but also must do it  in a place not too remote  from the

          location at  which he  or  she is  slated actually  to enter  the

          designated aircraft.   See Martinez Hernandez,  545 F.2d at  283;
                                 ___ __________________

          Day, 528 F.2d at 33.
          ___

                                    B.  Analysis.
                                    B.  Analysis.
                                        ________

                    In applying these  principles to the  case at hand,  we

          deem it  useful  to start  by  considering specific  examples  of

          accidents that have been  found to come within the  encincture of

          Article  17.    Perhaps  the  most venturesome  of  the  reported

          appellate decisions are Day and Evangelinos.  When passengers had
                                  ___     ___________

          surrendered  their  tickets,  passed  through  passport  control,

          entered the  area reserved exclusively for those  about to depart

          on international flights, and queued up at the departure gate   a

          prerequisite to  boarding   the  Second Circuit  ruled that  they

          were  engaged  in performing  a  necessary step  in  the boarding

          process.   Thus, Article  17 applied to  an ensuing injury.   See
                                                                        ___

          Day, 528 F.2d at  33.  Similarly, when passengers  "had completed
          ___

          virtually  all  the  activities  required as  a  prerequisite  to

          boarding, and were standing  in line at the departure  gate ready


                                          10














          to proceed  to the  aircraft" at the  time of  the accident,  the

          Third Circuit found them to have been engaged in a necessary step

          in  the  boarding process.   See  Evangelinos,  550 F.2d  at 156.
                                       ___  ___________

          Hence, Article 17 applied. 

                    The case at bar is of a  significantly different genre.

          The plaintiff here, unlike the plaintiffs in Day and Evangelinos,
                                                       ___     ___________

          had  yet to fulfill most of the conditions precedent to boarding;

          at the time of the accident, she had not  left the common area of

          the terminal, located  the bus  that would transport  her to  the

          vicinity of her assigned aircraft, reached an area restricted  to

          travelers,  nor  isolated  herself   from  the  throng  of  other

          passengers  flying  to  other  destinations.   In  addition,  the

          activity in which the plaintiff was engaged at the time of injury

            proceeding on  an escalator  from one level  of the  terminal's

          common area  to  another     cannot  in  any  sense  be  seen  as

          comprising a necessary  step in  the boarding process.   In  both

          Evangelinos and Day,  the only way passengers could  have entered
          ___________     ___

          the designated aircraft was to pass through the departure gate at

          which the injury  occurred.   See Evangelinos, 550  F.2d at  156;
                                        ___ ___________

          Day, 528 F.2d at 33.  In sharp contrast, the record in  this case
          ___

          does not contain the slightest hint that the plaintiff could only
                                                                       ____

          have  reached  her assigned  aircraft  by  taking the  particular

          escalator from which she fell.

                    Last   but far  from least   the accident  here, unlike

          in Evangelinos and Day, happened at  a considerable distance from
             ___________     ___

          the departure  gate and  well before any  actual embarkation  was


                                          11














          possible.   In other words, plaintiff's fall was far removed from

          the  act of  embarkation, both  temporally and  spatially.   Most

          importantly,  it took  place  in  a  part  of  the  terminal  not

          restricted  to passengers.  We believe it is no mere happenstance

          that  the plaintiff has  not cited    and we have  been unable to

          deterrate   a single instance in which Article 17  has been found

          to cover  an accident that occurred  within the public  area of a

          terminal facility.

                    A typical  case is  Buonocore v. Trans  World Airlines,
                                        _________    ______________________

          Inc., 900  F.2d 8 (2d Cir.  1990), in which the  court held that,
          ____

          although  the plaintiff  had checked  in at  the ticket  counter,

          Article 17 did not cover an ensuing injury sustained in a  public

          area "nowhere near the gate."  Id. at 10.  So, too, in Rolnick v.
                                         ___                     _______

          El  Al Israel Airlines, Ltd.,  551 F. Supp.  261 (E.D.N.Y. 1982),
          ____________________________

          the  plaintiffs "had  checked  their baggage  and obtained  their

          boarding passes, but had  not yet gone to passport  control" when

          an  accident  occurred  on   an  escalator  within  the  terminal

          building.  Id. at 262-63.   On these facts, the  court determined
                     ___

          that the plaintiffs  were not "embarking"  within the purview  of

          Article 17.

                    The disembarkation cases are grouped along a comparable

          axis.  See, e.g.,  Maugnie, 549 F.2d at 1262 (holding  Article 17
                 ___  ____   _______

          inapplicable where  passenger had deplaned and  accident occurred

          in  a  common  passenger  corridor  of  Orly  Airport);  Martinez
                                                                   ________

          Hernandez, 545 F.2d at 282 (holding Article 17 inapplicable where
          _________

          at the  time of injury the  passengers had traveled by  bus or on


                                          12














          foot from the aircraft  to the terminal); see also  Schmidkunz v.
                                                    ___ ____  __________

          Scandinavian Airlines Sys.,  Inc., 628 F.2d 1205,  1207 (9th Cir.
          _________________________________

          1980); Knoll v.  Trans World  Airlines, Inc., 610  F. Supp.  844,
                 _____     ___________________________

          846-47 (D. Colo. 1985). 

                    Although  both  the  nature  of the  activity  and  the

          location  of  the  accident  stand  as  obstacles  in  her  path,

          plaintiff, relying  primarily on  a dictum contained  in Martinez
                                                                   ________

          Hernandez (suggesting  that "the  scope of article  17 should  be
          _________

          limited to  those situations either  where the carrier  has taken

          charge of the passengers, or possibly where it customarily  would

          have done  so," 545 F.2d at  283 n.4), argues that  Article 17 is

          nonetheless  available because  Northwest had  "absolute control"

          over  her once its agent  had "confiscated" her passport, ticket,

          and  boarding pass.  This  attempt to fly  over hostile territory

          ends in a crash landing.

                    In  the first  place, after  we discard  the rhetorical

          flourishes and focus  on the facts, see, e.g.,  Medina-Munoz, 896
                                              ___  ____   ____________

          F.2d at 8  (warning that "conclusory allegations"  are not enough

          to defeat summary judgment), it becomes readily evident that  the

          plaintiff was not under the airline's "control" in any meaningful

          sense.   McCarthy produced no  evidence tending to  show that she

          was  obliged  to  take the  escalator  on  which  she  fell as  a

          prerequisite to  embarking.   Likewise, she produced  no evidence

          suggesting that the ticket agent refused a timely request to slow

          down or to return her travel documents.  If the plaintiff did not

          desire to follow the  agent down the escalator "at  a fast trot,"


                                          13














          she had  the ability  to  proceed at  her own  pace,  to take  an

          alternate route, or simply to await a later flight.

                    In  the second place, even were we to conclude that the

          agent's  peremptory instructions, coupled  with the possession of

          plaintiff's travel  documents, constituted a  kind of  "control,"

          this,  alone, would  not  be  enough  to  bridge  the  moat  that

          surrounds Article 17.  If it were, the Day/Evangelinos test would
                                                 _______________

          be a hoax, for two of its three prongs    activity and location  

          would  be rendered inoperative, and  the third    control   would

          lack the nexus with the others that informed the final version of

          Article  17.    At  bottom,  plaintiff's  activity  had  only  an

          attenuated  connection  with  entering  an aircraft,  and  it  is

          augmented  by nothing  more than  an indulgent  interpretation of

          control.  Thus, these factors  cannot overcome the remoteness  of

          the accident site from the aircraft.

                    In the third place, if the Martinez Hernandez dictum is
                                               __________________

          accorded the meaning plaintiff ascribes to it, then it is broadly

          overinclusive and  we reject it.  But we think that the plaintiff

          reads the dictum  through rose-colored glasses.   After all,  the

          Martinez  Hernandez court held that  Article 17 did  not apply on
          ___________________                                  ___

          the facts  of that case,  see 545 F.2d  at 282, and  this holding
                                    ___

          indicates that the court  never intended to throw open  the gates

          of Article  17 as widely as McCarthy suggests.  Nor has any other

          court done so.3  We will not be the first.
                              
          ____________________

               3To  be sure, a somewhat  similar dictum is  found in Knoll,
                                                                     _____
          where the court  wrote of judicial reluctance to  extend coverage
          under  the Warsaw  Convention  "to injuries  incurred within  the

                                          14














          IV.  CONCLUSION
          IV.  CONCLUSION

                    Having dismissed the notion that the Martinez Hernandez
                                                         __________________

          dictum demands a repudiation  of the result reached by  the court

          below, we taxi  toward the hangar.  Scrutinizing the evidence  of

          record  in  the  ambience  most soothing  to  the  plaintiff, and

          applying settled legal principles, a rational jury could not find

          that,  at the time of the injury, McCarthy was "embarking" within

          the  purview of that  term as  it is  used in  Article 17  of the

          Warsaw Convention.

                    We need  go no  further; the lower  court appropriately

          granted Northwest's motion for brevis disposition.
                                         ______



          Affirmed.
          Affirmed.
          ________













                              
          ____________________

          terminal, except in those cases in which plaintiffs  were clearly
                    _______________________________________________________
          under the direction of the airlines."  Knoll, 610 F. Supp. at 846
          ___________________________________    _____
          (emphasis supplied).  But in Knoll, as in Martinez Hernandez, the
                                       _____        __________________
          court's  holding belies  the implication  that McCarthy  seeks to
          derive from  it.  To be  specific, the court held  that Knoll was
          not embarking  where, after airline agents  advised passengers to
          proceed to  immigration, she slipped as she approached that area.
          Id. at  847.  In  so holding,  the court stressed  that the  many
          ___
          activities   yet  to  be   performed,  e.g.,  proceeding  through
                                                 ____
          immigration  and  customs, were  not  conditions  imposed by  the
          airline, but, rather, were conditions imposed by the host country
          in which plaintiff was traveling.  See id.
                                             ___ ___

                                          15









